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 8
 9                            UNITED STATES DISTRICT COURT

10                           NORTHERN DISTRICT OF CALIFORNIA

11   MICHAEL ZELENY,                        Case No. CV 17-7357 JCS
12         Plaintiff,                       Assigned to:
                                            The Honorable Richard G. Seeborg
13                  vs.
                                            Discovery Matters:
14   GAVIN NEWSOM, Jr., et al.,             The Honorable Thomas S. Hixson
15         Defendants.                      DECLARATION OF MICHAEL ZELENY
                                                                   MOTION
16                                          FOR PARTIAL SUMMARY JUDGMENT
                                            AGAINST ATTORNEY GENERAL
17                                          XAVIER BECERRA
18                                          Date:      February 25, 2021
                                            Time:      1:30 p.m.
19                                          Courtroom: 3, 17th Floor
20
                                            Action Filed: December 28, 2017
21                                          Trial Date:   TBD
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       ZELENY DECLARATION IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1          I, Michael Zeleny, declare:

 2          1.     I am the Plaintiff in this action. I have personal knowledge of the facts below. I

 3 could testify competently to these facts if called upon to do so.
 4          2.     I am an independent scholar and a published author in various fields, including

 5 logic, history, literature, and technology, as well as an independent performance artist and
 6 filmmaker. I am also an historian and author on the history and design of firearms. I maintain a
 7 popular blog, larvatus.livejournal.com, which has over 85,000 visits from around the world, on
 8 which I discuss various topics. I also use this platform to publish information about my efforts to
 9 expose moral corruption and hypocrisy in Silicon Valley.
10          3.

11 have passed an appropriate background check, and am eligible to possess and acquire firearms. I
12 also hold a Type 08 Federal Firearms License. I am a collector of rare, unique, and historically-
13 significant firearms, and currently possess a number of firearms lawfully, some of which I use for
14 ongoing study on firearms history and design.
15          4.     I plan to carry unloaded firearms in connection with a series of protests against

16
17 past, up to and including 2012, when I pr
18 Road in Menlo Park. I stopped my protests when I was falsely prosecuted for lawfully carrying
19 firearms. I was ultimately acquitted.
20          5.     The subject matter of my protests is credible allegations of child rape made against

21
22
23                                                            abhorrent. In addition, I have raised in

24 my protests the issue that I have received a series of death threats made in the name and on behalf
25 of Min Zhu. I bring firearms to my protests to amplify and draw attention to my message about
26 the heinous conduct of Min Zhu and NEA, and for self-protection, and to send a clear message
27 that I will not be coerced or intimidated into silence through threats.
28          6.     Throughout my protests, I consistently carried unloaded firearms, and cooperated

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 1 at all times with police requests to inspect them. I have significant training and experience in the
 2 safe handling of firearms, and handle firearms during my protests consistent with best practices.
 3 Among other things, I keep all of the firearms unloaded and pointed in a safe direction (usually
 4 towards the ground). When members of the public have expressed concern, I have explained my
 5 situation to them, and why I am protesting, stressing that under no circumstances would I initiate
 6 any kind of violence.
 7          7.     I lawfully carried unloaded firearms in Menlo Park without significant incident

 8 until 2012 when Menlo Park and NEA had me falsely prosecuted for allegedly carrying a
 9 concealed handgun. The gun was in an open and obvious belt holster on my hip, designed for this
10 purpose. The court acquitted me in December 2014, finding that the gun was not concealed.
11          8.     Following my acquittal, I planned to resume my protests. As part of these efforts,

12 I plan to present a live, multimedia performance using a large flat-screen monitor powered by a
13 gener
14 backing and continued support of Min Zhu. As part of the presentation, I also intend to display
15 posters and placards, and a number of rare and unique firearms, which will be unloaded at all
16 times. I plan to film my multimedia presentation and the reactions of passersby in order to live
17 stream the event as it is happening and to use the footage as part of my ongoing documentary film
18 project about Min Zhu, NEA, and my protests.
19          9.     Both the District Attorney during my prosecution, and Menlo Park following my

20 acquittal, have taken the position that in order to lawfully carry a firearm in connection with my
21 protests, I am required to have a city permit. Menlo Park has informed me that I am required to
22
23          10.

24 and the denial was upheld at a final appeal to the Menlo Park City Council in 2017. Menlo Park
25 has declined to move forward with my film permit application since 2017.
26          11.    I previously held an Entertainment Firearms Permit issued by the California

27 Department of Justice. A true copy of my permit is attached as Exhibit 1. Based on my
28 experience and research, I do not believe that such a permit is required to qualify as an
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        ZELENY DECLARATION IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1
 2          12.    I am an adult resident of Los Angeles County, California. I have no history of

 3 mental illness or insanity, and have never been convicted of a crime. I am legally qualified to
 4 possess firearms under both state and federal law.
 5          13.                                                                                    ,I

 6 would carry firearms in non-sensitive public places, as part of my protests in Menlo Park, for self-
 7 defense during those protests, and at other times and locations. To the extent that California law
 8 allowed me to do so, I would carry firearms either openly or concealed, as the law allowed.
 9          14.    The only reason that I refrain from carrying firearms during my protests. and at

10 other times in non-sensitive public areas, is my fear that I will be prosecuted for violating
11                                                                         s.

12          I declare under penalty of perjury under the laws of the United States that the foregoing is

13 true and correct. Executed this 20th day of January, 2021 at Los Angeles, California.
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                                                  Michael Zeleny
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        ZELENY DECLARATION IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
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             Exhibit 1
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This is to certify that the                                                            ·. As of the date of
issue, there is nothing that                                                          aned to the permittee for
use as props in motion pictur,                                                       Penal Code sections 29500
through 29530.


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 1                                     PROOF OF SERVICE
 2        I hereby certify that on January 21, 2021, I electronically filed the foregoing document
   using the Court’s CM/ECF system. I am informed and believe that the CM/ECF system will
 3 send a notice of electronic filing to the interested parties.
 4                                                      s/ Gabrielle Bruckner
                                                        Gabrielle Bruckner
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